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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ELI LILLY AND COMPANY,                           §
                                                 §
                       Plaintiff,                §
                                                 §
VS.                                              §    Civil Action No. 3:24-CV-2634-D
                                                 §
MANGOCEUTICALS, INC. d/b/a                       §
MANGORX,                                         §
                                                 §
                       Defendant.                §

                                               ORDER

       Plaintiff’s October 21, 2024 motion for leave to waive local counsel requirement is granted

as follows. Subject to further court order, plaintiff is granted leave to proceed without local counsel.

Within 14 days of the date defendant files a responsive pleading, defendant may file a written

objection to granting of leave, after which the court will determine whether to continue to permit

plaintiff to proceed without local counsel. Absent a written objection, the order filed today remains

in effect through the conclusion of this case.

       SO ORDERED.

       October 22, 2024.



                                                 _________________________________
                                                 SIDNEY A. FITZWATER
                                                 SENIOR JUDGE
